Case 22-11068-JTD   Doc 579-2   Filed 01/25/23   Page 1 of 3




                    Exhibit A
                  Case 22-11068-JTD              Doc 579-2         Filed 01/25/23         Page 2 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
In re:                                          Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

          Debtors.                                                 (Jointly Administered)

                                                                  Ref. No. ___

                     ORDER PURSUANT TO BANKRUPTCY RULE 2004 AND
                     LOCAL RULE 2004-1 AUTHORIZING EXAMINATIONS

                    Upon the Joint Motion of the Debtors and the Committee for Entry of an Order

Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 Authorizing Examinations (the

“Motion”); 2 and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C.§§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

upon consideration of the Motion; and the requested relief being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and finding that adequate notice of the Motion having been given; and it appears that no

other or further notice need be given; and upon the record of any hearing held to consider the

relief requested in the Motion; and this Court having found and determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and any

objections to the requested relief having been withdrawn, resolved or overruled on the merits;

and after due deliberation and sufficient cause appearing therefore,


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
    such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Capitalized terms not defined herein shall have the meanings set forth in the Motion.




{1368.002-W0069809.}
                Case 22-11068-JTD         Doc 579-2      Filed 01/25/23     Page 3 of 3




                  IT IS HEREBY ORDERED THAT:

         1.       The Motion is granted as set forth herein.

         2.       The Movants are authorized under Bankruptcy Rules 2004 and 9016 to issue

subpoenas to the any or all of the Insiders for the production of documents, electronically stored

information, or tangible things, including those responsive to the Requests.

         3.       The Movants’ rights are reserved to request additional discovery and/or

examination, including, without limitation, requests based on any information that may be

revealed as a result of the discovery authorized pursuant to this Order.

         4.       This Order is without prejudice to the right of the Movants to seek further

discovery pursuant to Bankruptcy Rule 2004 or otherwise of any other person or entity.

         5.       The Movants are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

         6.       The terms and conditions of this Order shall be effective and enforceable

immediately upon its entry.

         7.       This Court retains jurisdiction to resolve any disputes arising under or related to

this Order, including any discovery disputes that may arise between or among the parties, and to

interpret, implement and enforce the provisions of this Order.

SO ORDERED.



 Dated: _______________, 2023
        Wilmington, Delaware                             The Honorable John T. Dorsey
                                                         United States Bankruptcy Judge




{1368.002-W0069809.}                               -2-
